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  EXHIBIT A
Leigh Rothschild | LinkedIn                                                 Page 1 of 2
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    Managing Director at Rothschild Trust Holdings, LLC                                                        First Name           Last Name                
    Miami/Fort Lauderdale Area     Research
                                                                                                              Example: Leigh Rothschild
    Current     Rothschild Trust Holdings, LLC
    Previous    BarPoint,Inc., IntraCorp Entertainment                                                                   Leigh Gail Rothschild
    Education   University of Miami - School of Business                                                                 --
                                                                                                                         United States


                                                                                                                         Leigh Gail Rothschild
                                                                                                                         Broker at Rothschild Realty

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    • See who you know in common
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    • Contact Leigh directly

                                                                                                                         Bruce Schwack



   Summary                                                                                                               Jon Casillas
                                                                                                                         Sales Director at Foxworth
                                                                                                                         Commercial Capital
   Mr. Rothschild is the Managing Member of Rothschild Trust Holdings, LLC an intellectual property
   holding company. From 2005 to 2006, he was Chairman and a Board Member of Connected Media
                                                                                                                         Stephen Key
   Technologies Inc., a publicly traded intellectual property and digital media company. Mr. Rothschild                  Inventor, Entrepreneur, Intellectual
   is an established inventor who to date has been issued more then eighty US patents and has more                       Property Strategist, Bestselling
   than 150 patents pending worldwide. Mr. Rothschild's first patent was conceived when he was 17                        Author, & Speaker
   years of age and granted shortly thereafter. Mr. Rothschild has licensed and sold patents within his
                                                                                                                         Connie Kazanjian
   patent portfolio to several major companies around the world and his technologies are in use at                       Intellectual Property/Patents
   companies ranging from Pricegrabber.com to Sonic Solutions/InterActual to Neomedia, to the US
   Department of Commerce, and Citrix, among others. From October 1998 through February 2004,
   Mr. Rothschild was Chairman and founder of BarPoint.com, a NASDAQ publicly traded wireless
                                                                                                                         Atanu Das
   information company that was the leader and early creator of tying symbology such as barcodes to                      Attorney at Greer, Burns & Crain,
   the internet. Mr. Rothschild is the inventor of many patents in this area. Barpoint.com was sold in                   Ltd.
   February of 2004. Prior to founding BarPoint, Mr. Rothschild was Chairman and Chief Executive
   Officer of IntraCorp Entertainment, Inc., a consumer software company with worldwide product
                                                                                                                         Charles de Rothschild III
   distribution.                                                                                                         Managing Principle, Tour Noire
                                                                                                                         Capital Management, LLC
   Mr. Rothschild is a former presidential appointee to the High-Resolution Board for the United States
   under former President George H. W. Bush. He has served Governors on technology boards and
                                                                                                                         barbara Barbara Rothschild
   served as a special advisor to then Florida Secretary of Commerce Jeb Bush. Mr. Rothschild also                       --
   served on the IT Florida Technology Board as an appointee of former Governor Jeb Bush. Mr.
   Rothschild chairs the Rothschild Family Foundation, which endows outstanding charities and
   institutions,                                                                                                         Jay B. Johnson
                                                                                                                         Partner at Brown Fox Kizzia &
                                                                                                                         Johnson PLLC


                                                                                                                         Brian Fried
   Experience                                                                                                            Inventor Consultant/Coach, Serial
                                                                                                                         Inventor, Licensing Agent, Speaker,
                                                                                                                         Author, Radio Host, Product
   Managing Director                                                                                                     Invention Development

   Rothschild Trust Holdings, LLC
   Present




   Chairman and CEO
   BarPoint,Inc.
   January 1998 – January 2005 (7 years 1 month)




https://www.linkedin.com/in/leigh-rothschild-bab450b                                                                                               3/29/2016
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   Nasdq traded leading ecommerce company that invented linking barcodes to the internet. Sold in                    Ads You May Be Interested In
   2005. Patented technology now being used by companies such as Google, Ebay, and Microsoft                                   What is LinkedIn?   Join Today    Sign In
   among others.                                                                                                                 The Top Trial Lawyers
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   Languages


   English                                             French
   Native or bilingual proficiency                     Limited working proficiency




   Education


   University of Miami - School of Business
   Graduate Degree Business
   1973 – 1975

   Activities and Societies: Student member of Board of Trustees




   Interests


    and Technology toys. Educating youth about inventions and patents and bringing great ideas to
    life!

    History      Physics




   Groups



   Patents - Intellectual…     Patents                   IP Litigation               Independent Invento…




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https://www.linkedin.com/in/leigh-rothschild-bab450b                                                                                                      3/29/2016
